               lt,INANCIAL INDUSTRY REGULATORY AUTHORITY
                          OFFICE OF HEARING OFFICERS


DEPARTMENT OF ENFORCEMENT,

                            Complainant,                    Disciplinary Proceeding
                                                            No.2010021324501
       v.
                                                            Hearing Officer - LBB
PINNACLE PARTNERS FINANCIAL
CORPORATION
(CRD No. 145523),                                           DEFAULT DECISION

and
                                                            Dated: April 25, 2012
BRIAN K. ALFARO
(CRD No. 4049120),
                            Respondents.

      Respondent Pinnacle Partners Financial Corporation is expelled from
      FINRA membership, and Respondent Brian K. Alfaro is barred from
      associating with any member firm in any capacity, for making material
      misrepresentations in connection with the sale of securities, in willful
      violation of Section lO(b) of the Securities Exchange Act of 1934, SEC Rule
      lOb-5, NASO Rules 2120 and 2110, and FINRA Rules 2020 and 2010.
      Alfaro is also barred for misusing customer funds, in violation of NASD
      Rules 2330 and 2110, and FINRA Rules 2150 and 2010.
      Alfaro is additionally barred, and Pinnacle is expelled, for unregistered sales
      of securities, in violation of Section 5 of the Securities Act of 1933, NASD
      Rule 2110, and FINRA Rule 2010.
      In light of the bars, no additional sanctions are imposed for Respondents'
      failure to document and determine suitability, in violation of NASD Rule
      2310 and FINRA Rule 2010; failure to report, accurately report, and
      maintain Rule 3070 filings, and failure to update and late updating of Forms
      U4, in violation ofFINRA's By-Laws, NASD Rule 3070, and FINRA Rule
      2010; failure to supervise, establish and maintain supervisory controls, in
      violation of NASD Rules 3012 and 3010, and FINRA Rule 2010; willful
      failure to maintain books and records, in violation of Section 17 of the
      Securities Act of 1933, SEC Rule 17a-4, and FINRA Rule 2010 (by Pinnacle);
      and causing Pinnacle to fail to maintain books and records (by Alfaro).
      As restitution, Respondents are ordered to offer rescission to the customers
      who were the victims of the fraudulent securities sales. For those customers
      who do not elect to rescind their securities purchases, Respondents are
      ordered to refund all sales commissions received from Pinnacle's customers
      who were the victims of the fraudulent securities sales.
SEC Rule tOb-5, NASO Rules 2.110 and 2120, and FINRA Rules 2010 and 2020. Complaint

'112.
        From January 2009 to March 2011, Alfaro misused customer funds to: (1) meet

obligations for previous offerings; (2) cover Alfaro's personal expenses; and (3) make cash

payments to Alfaro personally. The only way non-party Alfaro Oil and Gas, LLC ("Alfaro Oil

and Gas") could meet its financial obligations to drill the investors' wells and meet obligations to

previous investors, after spending investor funds in this fashion, was to raise additional funds

from investors or tap Alfaro' s personal resources.   A~   a result of the foregoing conduct, Alfaro

violated NASD Rule 2330 and FINRA Rules 2150 and 2010. Complaint <J[ 3.

        From August 23, 2008, to September 24, 2010, Pinnacle and Alfaro offered and sold

unregistered securities. Pinnacle engaged in general solicitations by offering Alfaro's joint

ventures to investors through the boiler room operated by Pinnacle and Alfaro. Specifically,

Pinpacle and Alfaro pitched offerings on the initial cold call and sent out offering materials

immediately following the initial cold call. By engaging in the foregoing conduct, Pinnacle and

Alfaro acted in contravention of Section 5 of the Securities Act of 1933 ("Securities Act"), and

thereby violated FINRA Rule 2010 and NASO Rule 2110. Complaint 'I[ 4.

        Pinnacle and Alfaro systematically destroyed documents, maintained inaccurate books

and records, failed to report numerous written investor complaints related to the allegations in

the Complaint, and failed to amend Fonns U4 for settlements related to customer grievances in

excess of $15,000. By engaging in the foregoing conduct, Respondents Pinnacle and Alfaro

violated Article V, Section 2, of FINRA's By-Laws, NASO Rules 3070 and 2110, and FINRA

Rule 2010. Complaint Cj{ 5.

        Pinnacle willfully violated Section 17 of the Exchange Act, SEC Rule l 7a-4, and NASD

Rule 3110, by failing to maintain finn records, including correspondence and e-mails. By


                                                 4
French Town, East Wharton, Montague Legacy, SW Redfish Reef, East Moss Lake/LNG, and

Denali. Complaint 1[ 26.

       Pinnacle and Alfaro failed to disclose to all investors that none of the joint ventures

offered through Pinnacle and Alfaro had ever been profitable for anyone other than Pinnacle,

Alfaro, and entities that Alfaro owned and controlled. Alfaro used two non-registered entities

that charged fees to investors, making each of the offerings less likely to be profitable. Alfaro

Oil and Gas acts as the managing venturer for almost all offerings sold by Pinnacle and Alfaro.

Silver Star and Alfaro Oil and Gas charged exorbitant additional fees to all investors that are not

typically incmred by other interest holders in similar oil and gas drilling projects.

Complaint 127. Silver Star charged all investors for purported lease acquisition costs. The

extent of Silver Star's exorbitant fees was never disclosed to investors. Complaint CJ[ 28.

       Pinnacle and Alfaro's solicitations created the false impression that Alfaro Oil and Gas

was an oil and gas operator. Alfaro Oil and Gas entered into "turnkey agreements" with all

investors in the 11 offerings at issue offered and sold by Pinnacle and Alfaro. Turnkey

agreements are drilling contracts under which the drilling contractor agrees to perfonn stated

functions for an agreed-upon price. This typically limits the liability exposure for a contractor's

actions. The turnkey agreement stated that Alfaro Oil and Gas would be paid to " ... acquire the

Prospect and drill and complete the Prospect well, including, but not limited to, the setting of

production casing or, if necessary, the plugging and abandoning of a dry hole...." The turnkey

agreement also stated that: HAlfaro shall conduct all of its efforts in a good and workmanlike

manner and with reasonable due diligence." Alfaro Oil and Gas has never acted as an operator

or actually drilled an oil and gas well. In the offerings sold by Pinnacle and Alfaro, Alfaro Oil

and Gas served solely as an interest holder in prospects that were run by actual operators.

Complaint <JI 29.


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Alfaro' s securities fraud, misuse of customer funds, and unregistered securities sales; and

separate expulsions for Pinnacle's securities fraud and unregistered securities sales.

           A.       Alfaro is Barred and Pionade is Expelled for Securities Fraud

           The FINRA Sanction Guidelines e'Guidelines") for intentional or reckless

misrepresentations or material omissions of fact recommend a fine of $10,000 to $100,000 and a

suspension of the individual and the finn for lO days to two years. In egregious cases, the

Guidelines call for consideration of a bar for the individual, and expulsion for the firm. 56

           Respondents' misconduct was egregious. Many of their misrepresentations discussed

above were intentional, and the remainder were at leac;t reckless. The number and size of their

transactions were substantial.57 Alfaro and Pinnacle raised more than $10 million from more

than 100 investors for offerings that were sold by misrepresenting and omitting material facts.

Their conduct had the potential for substantial economic gain, and, in fact, did result in

substantial gain. 58 Their fraudulent conduct included 11 separate schemes. 59 Their fraudulent

conduct took place over a substantial period of time, from August 2008 until March 2011.60

They continued to engage in fraudulent conduct after they had agreed to the December TCDO,

and funher fraudulent conduct after they had agreed to the January TCDO. There was

substantial injury to customers, whose losses were virtually assured at the time of their

investments.61 In fact, the Complaint notes that several of the wells were capped, and



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     FINRA Sanction G11ide/ines. 88 (2011 ).
51
     Principal Consideration No. 18, Guidelines at 6. ("The number, size and character of the transactions at issue.")
58
  Principal Consideration No. 17, Guidelines at 7. c··Whether the respondent· s misconduct resulted in the potential
for the respondent's monetary or other gain.")
s9 Principal Consideration No. 8, Guidelines at 6. ("Whether the respondent engaged in numerous acts and/or a
pattern of misconduct.")
''°Principal Consideration No. 9. Guidelines at 6. c·whether the respondent engaged in the misconduct over an
extended period of time.").
61
  Principal Consideration No. 11. Guidelines at 6 ('"Whether the respondenCs misconduct resulted directly or
indirectly in injury to [the investing public]").
                                                            58
           E.       Restitution

           Enforcement has requested restitution, and it is an appropriate remedy. Rescission is an

appropriate form of restitution because the investments were sold by numerous

misrepresentations of material facts.

           "Where appropriate, Adjudicators may order that a respondent offer rescission to an

injured party."65 Here, rescission is clearly an appropriate remedy. The sales of the joint venture

interests were fraudulent. Investors received little or no return for their investments. For some,

the investments are already a complete loss, while there is at best a theoretical possibility for

some ca~h flow from others.

           Respondents shall offer rescission to every customer of the 11 ventures set forth in the

First Cause of Action. Respondents are ordered to offer rescission within 60 days of the

effective date of this Decision. The offer of rescission shall be in a form acceptable to

Enforcement. Respondents are further ordered to provide Enforcement with proof of the

delivery of the offer of rescission to each customer.

           To the extent any customer does not request rescission, Respondents shall refund the

15%66 sales commissions and fees charged to each customer of the 11 fraudulent joint ventures

that are the subject of the First Cause of Action.

XI.        Conclusion

           Respondent Pinnacle Partners Financial Corporation is expelled from FINRA

membership and Respondent Brian K. Alfaro is barred for making material misrepresentations in

connection with the sale of securities, in willful violation of Section lO(b) of the Securities

Exchange Act of 1934, SEC Rule lOb-5, NASO Rules 2120 and                       2110~   and FINRA Conduct

Rules 2020 and 2010. Respondent Alfaro is also barred for misuse of customer funds, in
65
     General Principles Applicable to All Sanction Detenninations.1( 5. Guidelines at 4.
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   As noted above. the offering documents describe the payment to Pinnacle as a 10% commission, a 2% due
diligence fee, and a 3% nonallocable expense fee.
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